     Case 2:13-cr-00008-WFN    ECF No. 1439    filed 10/15/13   PageID.5515 Page 1 of 1




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                          UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF WASHINGTON
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 7 UNITED STATES OF AMERICA,                     No. CR-13-008-WFN-24
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                Plaintiff,                       ORDER DENYING DEFENDANT’S
 9 vs.                                           MOTION TO MODIFY
10
   KEVIN BYRON LONDON,
11
12                     Defendant.
13         Before the Court is Defendant’s Motion to Modify Conditions of Release.
14   ECF No. 1431. Defendant is being supervised in the Central District of California.
15   He seeks to have his supervision lowered from “intensive” to “routine.”
16         The Court has considered Defendant’s Motion, Declaration of Counsel, the
17   government’s Response, as well as the Pretrial Services Report. The Court finds
18   circumstances do not appear to have changed since Defendant’s conditions of
19   release were imposed. Accordingly, the Defendant’s Motion, ECF No. 1431, is
20   DENIED. Defendant shall abide by all previous conditions of release.
21         IT IS SO ORDERED.
22         DATED October 15, 2013.
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                                 _____________________________________
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                                           JOHN T. RODGERS
25                                UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING DEFENDANT’S MOTION TO MODIFY - 1
